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IN THE UNITED STATES DISTRICT COURT HEDUL" -,__~BB

 

FOR THE wESTERN DIsTRIcT oF TENNESSEE
WESTERN DIvIsIoN 05 JUL 28 PH .‘" 32
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UNITED sTATEs oF AMERIcA, UV&RBF¥STHGE¥UCO|HT
W§JOFTN MEMPPBS
VS. NO. 04-203lO-Ma

MAJOR GRUBBS,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE HEARING AND
SETTING REPORT DATE

 

Before the court is defendant's July 27, 2005, motion to
continue the hearing on the motion to disclose confidential
informant and motion to suppress which was set on July 28, 2005.
Counsel for the government does not oppose the motion to
continue. For good cause shown, the motion is granted. A report
date is set Friday, August 5, 2005, at 3=00 p.m.

lt is so oRDERED this zqu`day of July, 2005.

`M//M_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This comment entered on the docket sheetl com li nce
with R.l|e 55 and/or 32{b} FRCrP on l&_§__

      
  
  
 

  

  
 

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This notice confirms a copy of the document docketed as number 66 in
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Honorable Samuel Mays
US DISTRICT COURT

